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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

BRADEN GROUP B.V.                             §
and BRADEN AMERICAS, INC.,                    §
                                              §
                     Plaintiffs,              §         Case Nos. 4:23-cv-0626 (lead)
                                              §          and 4:23-cv-0630 (member)
              v.                              §
                                              §           Judge Andrew S. Hanen
ENERGYLINK INTERNATIONAL INC.                 §
and ENERGYLINK CORPORATION,                   §
                                              §
                     Defendants.              §


              NOTICE OF WITHDRAWAL OF COUNSEL MARK E. SMITH

       The undersigned provides notice of the withdrawal of counsel of record Mark E. Smith for

Defendants EnergyLink International Inc. and EnergyLink Corporation across the consolidated

cases (Nos. 4:23-cv-0626 and 4:23-cv-0630). Billy M. Donley will remain attorney-in-charge for

Defendants.

Dated: September 5, 2023                          Respectfully submitted,

                                                  BAKER & HOSTETLER LLP

                                                  s/ Billy M. Donley
Kevin W. Kirsch, of counsel                       Billy M. Donley, attorney-in-charge
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                                                  EnergyLink International Inc.
                                                  and EnergyLink Corporation




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                                 CERTIFICATE OF SERVICE

       Under Fed. R. Civ. P. 5(b)(2)(E), Local Rule 5.1, and Local Rule 5.3, the undersigned

hereby certifies that true and correct copies of this notice have been served on all counsel of record

via notice of electronic filing automatically generated by the Court's electronic filing system.


Dated: September 5, 2023                              s/ Billy M. Donley
                                                      Billy M. Donley




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